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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

_____________________________________________

SCOTTSDALE CAPITAL ADVISORS
CORPORATION, ET AL.,
       Plaintiffs,
v.                                                                  Case No.: 16-cv-860-DKC

FINANCIAL INDUSTRY REGULATORY AUTHORITY, INC.,
      Defendant.
_____________________________________________


                                    [PROPOSED] ORDER

       This matter is before the Court on the Securities and Exchange Commission’s motion for

leave to participate as amicus curiae in support of the Financial Industry Regulatory Authority,

Inc.’s motion to dismiss. Based on consideration of the motion, the entire record herein, and any

argument of counsel, it is hereby ORDERED that the motion is GRANTED.

       SO ORDERED.



Dated: __________________________                           _________________________
                                                            DEBORAH K. CHASANOW
                                                            United States District Judge
